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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


DEREK MYERS
and
ASHLEY MYERS,                                                    Civil Action Number
                                                                 2:11-cv-02500-RDR -KGS
               Plaintiff,

   vs.
VIKING COLLECTION SERVICE, INC.,

               Defendant.



                                NOTICE OF SETTLEMENT


       COME NOW Plaintiffs by and through their attorney J. Mark Meinhardt and for their

Notice of Settlement, hereby states as follows:

1.     The Plaintiffs and the Defendant have reached a settlement.

2.     The Parties will file a Stipulation of Dismissal with Prejudice with each party to pay

       their or its own attorney’s fees and costs once the settlement documents have been

       executed by the parties and delivered to all counsel and the Plaintiff has received

       the settlement funds. The parties expect this to happen within the next sixty (60)

       days.

                                           Respectfully submitted,

Dated: November 7, 2011                    By: s/ J. Mark Meinhardt
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